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                            UNITED STATES DISTRICT COURT
                                DISTRICT OF COLUMBIA



   UNITED STATES OF AMERICA

                       v.                                  No. 22-cr-15 (APM)

   EDWARD VALLEJO,
                                 Defendant.


         DEFENDANT EDWARD VALLEJO’S RESPONSE TO GOVERNMENT
                  MEMORANDUM IN AID OF SENTENCING

       Harrelson:      “They’re storming the fucking Capitol. Look at these fuckers go.”
       Dolan:          “I think we should go.”
       Harrelson:      “Huh?”
       Dolan:          “I think we should go.”
                                                   —Harrelson Trial Exhibit H-7.

       Dripping with rhetoric unmoored from the record, the Government’s Memorandum in Aid

of Sentencing attempts to cast followers on January 6 who were caught flat-footed and joined the

crowd as leaders who instigated the whole thing as part of a months’ long campaign. It makes this

argument because, as the government knows, there is little basis for distinguishing the actual

conduct of these defendants from hundreds of others sentenced for entering the Capitol on January

6. But the government’s claim that the Oath Keepers had a preexisting plan to stop the transfer of

power, much less played any role in instigating the crowd, has no basis in the evidence. And its

specific claims about Vallejo’s “role”—that he was some kind of “QRF leader” who “managed”

an arsenal of weapons to bring to the Capitol—are likewise baseless.

       While highly-technical questions about the Sentencing Guidelines are addressed below, the

government’s main sentencing argument—that the Oath Keepers deserve to be sentenced as

terrorists for their 12-20 minutes in the Capitol—is histrionic and borderline offensive. The tragedy
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of January 6 is that hundreds of lifelong law-abiding people like Edward Vallejo were lied to by

the sitting President and told that the certification was an orchestrated assault on our democracy.

The people who broke the law that day were not al-Qaeda members bombing the World Trade

Center, or even “traitors” who consciously chose to attack democracy rather than accept that they

validly lost. They were patriotic Americans who believed wrongly—very wrongly—that they were

defending democracy against corrupt officials. As Thomas Jefferson wrote, their motivations

“were founded in ignorance, not wickedness.” Letter from T. Jefferson to W. Smith (November

13, 1787), available at https://founders.archives.gov/documents/Jefferson/01-12-02-0348.

       If the purposes of sentencing in 18 U.S.C. § 3553(a) can be met by short custodial or

probationary sentences for hundreds of January 6 defendants, as numerous judges have held, then

they can be met by Vallejo’s four months in jail and twelve months of home detention. Unlike

many of those defendants, Ed Vallejo was not there, did nothing violent, opposed the destruction

of Capitol property, and did nothing to hinder the investigation. While the government may wish

for a lengthier sentence, it is not “necessary,” and is therefore forbidden, by § 3553(a).

                                            ANALYSIS

I.     The Guidelines Enhancements Should Not Apply

       A. The Oath Keepers did not cause injuries or property damage

       Although there were several injuries to police and millions of dollars in property damage

that day, not all January 6 defendants are personally responsible—this enhancement does not apply

to everyone. Rather, it applies to those January 6 defendants who personally took part in or

threatened property damage or injuries. The government’s arguments for including property

damage and injuries in these defendants’ relevant offense conduct under §2J1.2(b)(1)(B) do not

hold water.



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       First, the government generally asserts that these defendants “were part of a mob of rioters

that caused injuries to Capitol Police officers” and damaged Capitol “doors.” Gov. Mem. 33–34.

But since the Oath Keepers generally stood by and only entered when the doors were opened from

the inside, the conduct of this “mob” is not part of the Oath Keepers’ jointly-undertaken criminal

activity. Next, the government points out that some of the Oath Keepers, including Watkins and

Minuta, “pushed against a line of MPD riot officers” in the Rotunda. Id. at 34. But no officer

testified that any of the brief periods of pushing by Oath Keepers in the Rotunda caused any

injuries. The government claims that “Officer Owens and Officer Jackson both testified to the

physical injuries they and their fellow officers suffered during this encounter.” Id. (emphasis

added). But on the contrary, no testimony about injuries is cited for Officer Jackson; and Officer

Owens’s testimony was that at the end of the entire day, his “arms and legs were bruised and

bloodied and battered.” Id.1 This includes encounters where rioters were “punching, kicking,

swinging flagpoles and two-by-fours.” 10/26/22AM Tr. at 5451. There is thus no evidentiary basis

for concluding that it was the relatively short period where Watkins and other Oath Keepers pushed

against the police line that caused the bruising and bloodying on Officer Owens’s arms and legs.

See also Gov. Mem. 34–35 (no injuries in quotations regarding Minuta pushing on officers).

       Next, the government resorts to claiming that general chants of “Treason” by “Harrelson

and Dolan,” were “threatening and intimidating.” Id. at 35. But Congress had already been

evacuated by the time the Oath Keepers entered, so there were no lawmakers around to feel

threatened and no obstruction to be achieved through such “threats,” as the adjustment requires.




1
 10/26/22AM Tr. at 5453 (“Q. And what time did you ultimately leave the United States Capitol?
A. Around 8:00 or 9:00 p.m. that evening. Q. Did you suffer any physical injuries that day? A.
Yes, ma’am. My arms and legs were bruised and bloodied and battered. Other than that, I didn’t
have any significant injuries from that day.”)
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This is a far cry from the case cited by the government, United States v. Rubenacker, No. 21-cr-

193 (May 26, 2022), Sent. Tr. at 58, where the “defendant’s yelling and taunting at the officers . .

. in an agitated manner with his finger outstretched was threatening conduct, regardless of what he

precisely said and whether those words contained threats of physical injury to those officers.”

       Finally, the government claims that “Vallejo and Caldwell managed an arsenal of firearms

at a hotel in Virginia as part of an armed Quick Reaction Force to support the other conspirators

on the ground at the Capitol building.” Gov. Mem. 35–36. Putting aside the patent falsity of this

claim that the QRF was intended to support an attack on the Capitol—which numerous witnesses

and multiple documents contradict—merely having weapons on standby in Virginia does not

qualify as “threatening to cause physical injury to a person…in order to obstruct the administration

of justice,” §2J1.2(b)(1)(B), where no such firearms were ever brandished to achieve that result.2

       B. Under §3B1.1, Vallejo should receive a reduction, not enhancement, for his
          minimal “role” in the offense

       As the government concedes, “to qualify for the adjustment, the defendant must have

managed or led one or more participants in the scheme, rather than simply controlled the scheme

itself.” Gov. Mem. 46 (emphasis in original) (citing United States v. Bapack, 129 F.3d 1320, 1325

(D.C. Cir. 1997). Moreover, as the government concedes, supervising other participants is merely

a necessary condition for the enhancement, not a sufficient one. Id. at 44 (citing United States v.

Kelley, 36 F.3d 1118, 1129 (D.C. Cir. 1994) (stating that control “alone does not determine

whether the sentence can be increased” pursuant to §3B1.1). Rather, even after finding the requisite


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  The government cites interstate threat cases to argue that threats need not be communicated
directly to a victim; but sending a threat through the wires—where the threat itself is the crime—
is completely different than threatening a victim with firearms in order to obstruct justice. For the
same reason, the government’s reliance on Reffitt, No. 21-cr-32 (Aug. 1, 2022), Sent. Tr. at 20-21,
is misplaced. In Reffitt, the defendant had a firearm on his person, creating a present and credible
threat to those he encountered when combined with threatening words.


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requirement of control, the Court must consider other factors in deciding “whether to apply the

adjustment.” Id. (citing United States v. Olejiya, 754 F.3d 986, 990 (D.C. Cir. 2014) (listing

factors); U.S.S.G. § 3B1.1, cmt. n.4).

       Here, there is no evidence that Defendant Vallejo managed or supervised anyone on

January 6. Nevertheless, the government maintains that Vallejo was “a QRF leader, playing a

coordinating role between conspiracy members from different parts of the country and managing

his team, including Kandaris, and the group’s weapons at the hotel.” Gov. Mem. 166. To support

this claim, the government lists the following facts: (i) Vallejo viewed the Hagmann Report

podcast calling for armed, peaceful protests unrelated to January 6, and sent the podcast to his non-

conspirator friend, Kelly Carter; (ii) Vallejo, Carter, and Kandaris left Arizona for D.C.;

(iii) Vallejo asked Rhodes for the rendezvous location, just as Kandaris had done; (iv) Vallejo

circulated to Kandaris, Carter, and non-conspirator Phranq Tamburri a “NewsBusters” article

about Trump supporters potentially storming the Capitol; (v) Vallejo “unloaded rifle bags, a

machete [sic], a drone, and 11 large totes of unknown goods”; (vi) Vallejo “was the only member

of the Arizona QRF who had direct communications via the main encrypted op channel (“DC Op:

Jan 6 21”)”; (vii) Vallejo wrote to the “DC Op: Jan 6 21” group that he was “outfitted” and “had

two trucks available, one of which Vallejo would direct Kandaris, who not on the ‘DC Jan 6 Op

chat,’ to drive”; and (viii) Vallejo wrote to the group again at 2:38 p.m., “QRF standing by at hotel.

Just say the word . . . .” Id. at 166–68.

       None of these facts suggest that Vallejo played “a coordinating role between conspiracy

members from different parts of the country,” “manag[ed]” a “team,” or managed “the group’s

weapons at the hotel.” Gov. Mem. 166. The only hint of a claim of supervisory control in this list

occurs in fact (vii), where the government baldly asserts that Vallejo “would direct Kandaris” to



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drive one of the “available trucks” when the Capitol area was erupting in chaos. Id. at 168. But the

truck belonged to Kandaris, not Vallejo, and Kandaris’s description of his and Ed’s actions that

afternoon demonstrate his equality to and independence from Vallejo. See Vallejo Sent. Ex. 10 at

5–7 (discussing Kandaris’s personal observations and decisions, some of which conflict with

Vallejo’s). The government offers nothing to justify the suggestion that Kandaris would have felt

beholden to act under Vallejo’s “direction,” as opposed to just being one of two guys from Arizona

who had just been downtown, seen some of the scene, and been willing to help with his own truck.

Moreover, the government ignores Kandaris’s greater involvement in the planning and decision-

making during their mutual road trip, including (i) first reaching out to Rhodes, (ii) personally

driving Carter, (iii) speaking at greater length of his plans on the podcasts, and (iv) directly

reaching out to Rhodes in Texas. See Vallejo Sent. Mem. 44–46; 58–59 (describing Kandaris’s

actions). The strong weight of the evidence establishes that Kandaris was at least Vallejo’s peer

in any joint activity they undertook, and certainly did not take orders or direction from him.

       Nor is there evidence that Vallejo “managed” Kandaris’s or Carter’s “weapons.” Carter

testified that he stayed in the hotel specifically to guard his own weapons, whom he did not trust

to leave in anyone’s hands (Vallejo and Kandaris were hardly in the room). Vallejo Sent. Ex. 3 at

20–21. And he further testified that Ed never touched or watched Carter’s or anyone else’s

firearms. Vallejo Sent. Ex. 2 at 2 (“Ed never checked firearms or prepped them. Ed also never

watched anyone else’s firearms.”); Ex. 3 at 21 (“Hell no. No. No, no, no. No, [Vallejo and

Kandaris] never, ever touched any of the firearms.”).

       Finally, the additional factors listed in § 3B1.1, cmt. n.4, do not support any upward role

adjustment. Vallejo did not “exercise [any] decision making authority”; indeed, even under the

government’s theory he was waiting for others to “just say the word….” Ex. EV 104 at 8. He did



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not directly “participat[e] in the commission of the offense,” but was an outsider convicted only

of conspiring and aiding and abetting. He did not take part in the “recruitment of accomplices,”

id., but merely encouraged and brought along Carter, a non-conspirator, for an unrelated march.

He played no role “in planning or organizing the offense,” taking no part in any Oath Keepers calls

or Signal chat groups in the months leading up to January 6, and was only added to the “DC Op”

chat group late in the afternoon of January 5. And even if he did “manage his team” from Arizona,

as the government falsely claims (Gov. Mem. 166), that “team” was, at most, one person

(Kandaris). Kelly Carter, the only other person from Arizona, was not a conspirator, barely spoke

with Vallejo when he was there, and went home by himself. Vallejo Sent. Exs. 2, 3. Thus any

putative “degree of control and authority exercised over others” by Vallejo was de minimis.

       By contrast, Caleb Berry personally took part in planning chats and discussions leading up

to January 6; he personally encouraged extreme viewpoints and resistance to the government in

discussions on Signal chats; he traveled to D.C. with Meggs, the Florida leader; he earned the

nickname “Breacher” while camping with key conspiracy leaders; he directly breached the Capitol

at the encouragement of Meggs; he returned to Florida with Meggs; he continued expressing

extreme views; he purposely deleted evidence of his conduct and those of his conspirators; and he

allegedly lied to investigators about his conduct on January 6. If Berry merits a 2-level reduction

for his minimal role, as the government concedes, Vallejo certainly does as well.

       C. There is no basis for applying §3C1.1 for “obstruction of justice” to Vallejo

       An obstruction adjustment under §3C1.1 requires the government to prove that the

defendant acted “willfully” with the intent to obstruct an “official investigation.” §3C1.1, cmt.

n.4(D). The government claims to have met this burden because (i) Vallejo circulated two news

articles weeks after January 6 and (ii) deleted the Signal app from his phone at some point two to



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five months after January 6. Gov. Mem. 168. But the context of Vallejo’s messages, statements to

Rhodes, and deleting of the app destroy any notion that he was attempting to obstruct justice.

       To begin with, as early as January 13, Rhodes sent a message to the “DC Op: Jan 6” group:

“All, we will be shutting this group down soon.” Wanting to preserve evidence, Vallejo responded,

“Do we have a hard copy of posts/timestamps here?” He received no response. Over the next

several days, as others left the group, changed their user handle, deleted individual messages, and

deleted videos and pictures from their phones, Ed did none of those things. Instead, he kept using

the chat group under his real name (“Ed Vallejo”) to post various news items of interest. These

ranged from links to conservative commentators (e.g., Steve Quayle and Ernie Hancock) to

mainstream news articles.

       On January 24, Ed posted a Washington Post article about January 6. Rhodes then

messaged Vallejo directly and told him that the “FBI has Jessica’s phone. So they are no doubt

now monitoring any chat she was in. Which included that DC op chat.” Ex. EV 300.2. Ed expressed

no concern whatsoever, stating, “Oh I got that but I never did anything wrong and I was at the

hotel when things went wonky.” Id. He added, “I stayed in the dc op chat because running and

hiding is what GUILTY people do...” Id.

       Then, knowing that the FBI had access to the “DC Op: Jan 6” chat, Ed continued posting

news articles, Bible verses, and various items of general interest all the way until March 7, 2021.

This included the article cited by the government about the arrest of Watkins and Caldwell on

January 28 and the article about the FBI being able to decipher Signal messages on February 12,

among others. Finally, on March 7, 2021, perhaps annoyed by Ed’s continued use of the “DC Op:

Jan 6” chat as a general discussion board, Rhodes wrote: “This is a dead group. Please don’t post




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on it anymore….Just stop using it. That’s what we do with op channels once an op is over.”

Vallejo responded, “Wilco [Will comply].” No further messages were posted to the group.

       Sometime between Vallejo’s last message on March 7, 2021 and the FBI requesting his

phone password in June 2021, Vallejo deleted the Signal app, which by then served no purpose.

But as this history shows, long before he deleted the app, he had been expressly told by Rhodes

that the FBI already had access to any messages of evidentiary value in the “DC Op: Jan 6” chat

group. Moreover, the basis for this assertion—that the FBI had Watkins’s phone—was

corroborated by the very article about her arrest that Vallejo circulated on January 28. Thus, in

deleting the by-then-defunct app two to six months later, Ed would have had no basis to believe

that the FBI still needed him to use his phone as some kind of indefinite evidentiary repository for

messages it already had. Rather, any reasonable person, having not heard from the FBI in months,

and having been told that the “DC Op: Jan 6” chat was a dead group, and having been told that the

FBI already had access to it anyway, would have thought nothing of deleting an old, unused app

on a slow, underpowered Motorola phone in the course of living one’s life.

       Certainly, nothing Vallejo did was “directly and inherently obstructive” such that the Court

could “infer an intent to obstruct justice…[without] a separate finding of specific intent.” United

States v. Reeves, 586 F.3d 20, 23 (D.C. Cir. 2009). As his January 13 and January 24 messages

show, Vallejo was expressly concerned with keeping a record of evidence from the events of

January 6, believing that he was in the clear because he “was at the hotel when things went wonky.”

Ex. EV 300.2. Nor did Vallejo in any manner “prevent law enforcement from accessing []

incriminating Signal messages on his phone and thus using those messages to investigate and

prosecute him and his co-conspirators.” Gov. Mem. 168. As Vallejo had been accurately told, the

FBI already had the relevant Signal messages and did “us[e] those messages to investigate and



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prosecute him and his co-conspirators.” Id. And importantly, the main sources of evidence that

Vallejo could have destroyed if he truly wished to obstruct this prosecution—photos, videos, and

text messages from January 6 that were preserved only on Ed’s phone—were carefully preserved

and handed over to the FBI, along with his password, as soon as they got in touch with him.

II.    The 3553(a) Factors Mandate a Minimal Custodial Sentence

       Fundamentally, the government’s central thesis for treating these defendants far more

harshly than other January 6 defendants is wrong. They were not “leading and instigating [the]

attack” on the Capitol. Gov. Mem. 76. They were actually late to the party. The evidence

established that while they hoped President Trump would take some kind of action, the Oath

Keepers generally came to Washington, D.C. to take part in personal security details and rallies.

See Ex. EV 13. As the government conceded in the first trial, the Oath Keepers had no prior plan

to stop the certification and “seized an opportunity” by a spontaneous crowd to enter the Capitol

building through open doors. And the evidence showed that they set up a QRF for the same reason

they always set up QRFs, including in Louisville, Fayetteville, Atlanta, and other places—to

protect lives in dangerous situations, not to support any unplanned assault.

       The defense does not wish to minimize the grave conduct of taking the law into their own

hands and interfering with a solemn proceeding memorializing the transfer of power. The harm to

democracy articulated by Judge Moss in United States v. Hodgkins, No. 21-cr-188, Sent. Tr. at.

69–70, and quoted by the government, Gov. Mem. 75, is real and long lasting. But motives and

context matter. And Judge Moss determined that the sentencing needs of § 3553(a)—including the

need to reflect the seriousness of the offense and promote respect for the law—could be satisfied

in a § 1512(c) case by an 8-month sentence. This Court should follow suit and avoid unwarranted

sentencing disparities for Vallejo, a 64 year-old veteran who never set foot on the Capitol that day.


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May 15, 2023                            Respectfully submitted,


                                        /s/ Matthew J. Peed .
                                        Matthew J. Peed (D.C. Bar No. 503328)
                                        CLINTON & PEED
                                        1775 I St. NW, Suite 1150
                                        Washington, D.C. 20006
                                        (202) 919-9491 (tel)
                                        (202) 587-5610 (fax)

                                        Counsel for Defendant Edward Vallejo
